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                               UNITED STATES DISTRICT COURT
 9
                              SOUTHERN DISTRICT OF CALIFORNIA
10
                                  (Hon. Cathy Ann Bencivengo)
11
12   UNITED STATES OF AMERICA,                 )    Case No. :22-cr-01903-CAB
                                               )
13               Plaintiff,                    )
                                               )    ORDER DIRECTING RETURN
14         v.                                  )    OF PASSPORT
                                               )
15   KARISSA BRIANA ANGUIANO (2),              )
                                               )
16               Defendant.                    )
                                               )
17
18         IT IS HEREBY ORDERED Pretrial Services shall return the Defendant’s passport
19
     to either Karissa Briana Anguiano or to her counsel, Keith H. Rutman.
20
           IT IS SO ORDERED.
21
22   Dated: 3/27/2023
23                                                 HON. CATHY ANN BENCIVENGO
                                                   U.S. District Court Judge
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